             Case 2:15-cr-00118-KJM Document 131 Filed 03/05/18 Page 1 of 3


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 PAUL HEMESATH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-00118-GEB
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           [PROPOSED] FINDINGS AND ORDER
14   DAVID WILLIAM DIXON,                               DATE: March 2, 2018
                                                        TIME: 9:00 a.m.
15                               Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for status on March 2, 2018.

21          2.     By this stipulation, defendant now moves to continue the status conference until March

22 16, 2018, and to exclude time between March 2, 2018, and March 16, 2018, under Local Code T4.

23          3.     The parties agree and stipulate, and request that the Court find the following:

24                 a)      The government has represented that the discovery associated with this case

25          includes hundreds of pages of discovery, financial reports and other documents. All of this

26          discovery has been either produced directly to counsel and/or made available for inspection and

27          copying.

28                 b)      Counsel for defendant desires additional time to consult with his client and to


      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
              Case 2:15-cr-00118-KJM Document 131 Filed 03/05/18 Page 2 of 3


 1          compare the fact in this discovery with the proposed disposition in the case.

 2                 c)      Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                 d)      The government does not object to the continuance.

 6                 e)      Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of March 2, 2018 to March 16, 2018,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendant’s request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19

20
     Dated: February 28, 2018                                 MCGREGOR W. SCOTT
21                                                            United States Attorney
22
                                                              /s/ PAUL HEMESATH
23                                                            PAUL HEMESATH
                                                              Assistant United States Attorney
24

25
     Dated: February 28, 2018                                 /s/ KYLE KNAPP
26                                                            KYLE KNAPP
27                                                            Counsel for Defendant
                                                              David William Dixon
28

      STIPULATION REGARDING EXCLUDABLE TIME               2
30    PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:15-cr-00118-KJM Document 131 Filed 03/05/18 Page 3 of 3


 1                                      FINDINGS AND ORDER

 2        IT IS SO FOUND AND ORDERED.

 3        Dated: March 2, 2018

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
